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AO 245B (Rev. 3/01) Sheet 1 - Judqment in a Criminal Case

United States District Court

District of Massachusetts

UN|TED STATES OF Al\/lERlCA AMENDED JUDGMENT IN A CRIMINAL CASE
V. (For Offenses Committed On orAfter November 1, 1987)
CHEPIEL SANCHEZ, AKA "Cl'lip" ease Number: 1: 02CR10261_001_RWZ

John Palmer, Esq.

 

 
  
 

 

 

Defendant’s Attorney
THE DEFENDANT:
pleaded guilty to count(s); 1-10
- pleaded nolo contendere to counts(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.

 

Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):
Date Offense Count

Titl c ion N§;_um gf Offense Conc|uded Me_r(§)
21USC§846 Conspiracy to Possess Heroin with lntcnt to Distribute 09/12/02 1
21USC§841(a)(1) Possession with Intent to Distribute Heroin 02/21/02 2
21USC§S41(3)(1) Possession with Intent to Distribule Heroin 02/28/02 3
21USC§84] (a)( 1) Posscssion with Intent to Distribute Heroin 04/08/02 4
21USC§841(a)(1) Possession with Intent to Distribute Hcroin 04/12/02 5
21USC§84l(a)(l) Possession with Intent to Distributc Heroin 04/18/02 6

-See continuation page

The defendant is sentenced as provided in pages 2 through _§__ of this judgment The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

|:| The defendant has been found not guilty on counts(s) and
is discharged as to such count(s).

|:| Count(s) is dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments

imposed by this judgment are fully paid. lf ordered to pay restitution, the defendant shall notify the court and United
States Attorney of any material change in the defendant’s economic circumstances

 

02/23/05
Defendant’s Soc. Sec. No.: 000/00/0940 Dat<:Z:lme:iS)n Wd me t
Defendant’s Date of Birth: 00/00/1977 ` due .-.9»

 

Signatu of Judicial Oflicer
Defendant’s USM No.: 24454-038 \

he Honorable Rya W. Zobel
Defendant’s Residence Address: Name and Title of Judicial Offlcer

13 Dover Street
Havcrhill, Mass, 01830

 

Judge, U.S. District Court

 

Date

 

Defendant’s lVlailing Address: "FS / 13 /`CD §'WW
Plymouth House of Corrcction /
26 Long Pond Road
Plymouth, Mass. 02360

 

 

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CASE NUMBERZ l; OZCR10261_OO]_RWZ Judgrnent-Pagc 2 Of 6
DEFENDANTZ .

CHEPIEL SANCHEZ, AKA "Chlp"

ADDITIONAL COUNTS OF CONVICTION

Date Offense Count

Title & Section Nature of Offense Conc|uded Number(s)
21USC§S41(3)(1) Posscssion with lntent to Distributc Heroin 04/24/()2 7
21USC§S4l(a)( l) Possession with Intent to Distribute Heroin 05/03/02 8
21USC§84l(a)(i) Possession with Inlent to Distributo Hcroin 05/] 7/02 9

21USC§841(a)(1) Posscssion with lntcnt to Distribute Heroin 07/25/02 10

 

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AO 2453 (Rev. 3/01) Sheet 2 - imprisonment
CASE NUMBER: 1;02CR10261-001-RWZ Judgmem-Pagc 3 or 6

DEFENDANT: CHEPIEL SANCHEZ, AKA "Chip"

|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 156 month(S)

[:I The court makes the following recommendations to the Bureau of Prisons:

|Z| The defendant is remanded to the custody of the United States Marshal.

I:I The defendant shall surrender to the United States l\/larshal for this district:

l:l at on __
|:] as notified by the United States Marshal.

m The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
before On ___....,m..
as notified by the United States Marshal.
as notified by the Probation or Pretrial Services Officer.

 

 

 

 

RETURN
l have executed this judgment as follows:
Defendant delivered on to
at , with a certiHed copy of this judgment

 

 

UN|TED STATES MARSHAL

 

BY

Deputy U.S. Marshai

 

 

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AO 245B (Rev. 3/01) Sheet 3 - SllnPrvised Re|ease
CASE NUMBER: 1:02CR10261'OOl-RWZ Judgment - Page 4 of 6

DEFENDANT: CHEPIEL SANCHEZ, AKA "Chip"

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for a term of 4 year($)

ij See continuation page
The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody ofthe Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance
For offenses committed on or after September 13, 1994.'

The defendant shall refrain from any unlawful use ofa controlled substance The defendant shall submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation officer.

|:| The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
future substance abuse (Check if applicable.)

|:| The defendant shall not possess a firearm, destructive device. or any other dangerous weapon.

lfthis judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Schedule of Payments set forth in the Criminal Monetary Penalties sheet ofthisjudgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant
shall also comply with the additional conditions on the attached page (if indicated above).

STANDARD COND|T|ONS OF SUPERV|S|ON

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use ofa|cohol and shall not purchase, possess, use, distribute or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally so|d, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view ofthe probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
confirm the defendant’s compliance with such notification requirement

 

 

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AO 245B (Rev_ 3/01) Judgment in a Criminal Case
Sheet 5, Part A _ Criminal Monetai'y Penalties

.ludgment ~ Page 5 of` 6
CASE NUMBER: lt OZCRl 0261-001-RWZ

DEFENDANT= CHEPIEL SANCHEZ, AKA "Chi "
CRIMlNAi: MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule ot`payments set forth on
Sheet 5, Part B.

Assessment Fing Restitution
ToTALS $1,000.00
|:| The determination ofrestitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) Will be entered

after such determination.
|:l The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment, each pa ce shall receive an approximately ro ortioned ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664 1), all nonfederal victims must be paid
in full prior to the United States receiving payment.

Priority Order
*Total Amo\lnt of or Percentage
Name of Payee Amount of Loss Restitution Ordergg of Payment

|:| See

Continuation
Page
TOTALS $0.00 $0.00

 

I:| It` applicable, restitution amount ordered pursuant to plea agreement

The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid iii full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 5, Part B may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 361 Z(g).

i:l '1`he court determined that the defendant does not have the ability to pay interest, and it is ordered that:
|:ithe interest requirement is waived for the |:] fine and/or |:| restitution.

l:l the interest requirement for the i:l l'ine and/or i:| restitution is modified as follows:

* Find_ings for the total amount of losses are required under Cha ters 109A, 1 10, 1 10A, and l 13A of Titlc 18, United States Code, for offenses
committed on or after September 13, 1994 but before April 23, 1 96.

 

 

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AO 245B (Rev. 3/01) Judgment in a Criminal Case
Sheet 5, Part B _ Criminal Monetary Penalties

.ludgment ~ Page 6 of 6
CASE NUMBERZ ll OZCR1026l-OOl-RWZ

DEFENDANT¢ CHEPIEL SANCHEZ, Ai<A "Chip"

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A E Lump Sum payment of $1’000-00 due immediately, balance due
|:I not later than , or

|:| in accordance with |:| C, l |D, or |:| E below; or

B Paymcnt to begin immediately (may be combined with C, D, or E below); or
Paymcnt in (e.g., equal, weekly, monthly, quarterly) installments of over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of thisjudgment; or

Paymcnt in (e.g., equal, weekly, monthly, quarterly) installments of over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term ofsupervision; or

Elj|___|E

Special instructions regarding the payment ofcriminal monetary penaltics:

Unless the court has expressly ordered otherwise in the special instruction above, if thisjud ment imposes a period ofimprisonment, payment
of criminal monetary penalties shall be due during the period of im risonment. All crimina monetary penalties, except those payments made
through the F ederal Bureau ofPrisons’ inmate Financial Responsi ility Program, are made to the clerk ofthe court, unless otherwise directed
by the ccurt, the probation oft'tcer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l:l Joint and Several

Case Number, Defendant Name, and .loint and Several Amount:

m See Continuation

l:| The defendant shall pay the cost ofprosecution. page

|:| The defendant shall pay the following court cost(s):

ij The defendant shall forfeit the defendant’s interest in the following property to the United States:

Paymcnts shall be applied iii the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principai,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.

 

 

